    Case 2:18-cr-00188-ES Document 8 Filed 07/16/18 Page 1 of 1 PageID: 54



DNJ-Cr-021 (09/2017)




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY




   UNITED STATES OF AMERICA
                                                Criminal No.   (8-188 (ES)

                            V.


                                                SENTENCING SUBMISSION NOTICE
                                                OF THE UNITED STATES
   SCOTT SPINA, JR.

                       Defendant(s).




         Please be advised that, on this date, the United States submitted sentencing

materials to the Court in this case concerning the defendant SCOTT SPINA, JR.




Date:       July 16, 2018                         CRAIG CARPENITO
                                                  United States Attorney



                                          By:      s/Andrew Kogan
                                                   Assistant U.S. Attorney
